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 3 Telephone: (916) 447-0160

 4
   Attorney for:
 5 Robert Lautenslager

 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                          CASE NO. 17-00053-JAM
10
                                   Plaintiff,           STIPULATION TO CONTINUE J&S TO
11                                                      SEPTEMBER 10, 2019, AT 9:15 A.M.
                             v.
12
     ROBERT LAUTENSLAGER,
13                      Defendant

14
                                                 STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, and Defendants Robert
16
     Lautenslager, by and through his Counsel of record, Dina Santos hereby stipulate to continue the date
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     for J&S to September 10, 2019 at 9:15 a.m. Issues that may affect the recommended sentence remain at
18
     issue and therefore a continuance is warranted. Probation will be notified of the new date.
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22
            IT IS SO STIPULATED.
23

24
      Dated: July 12, 2019                                   McGregor Scott
25                                                           United States Attorney

26
                                                             /s/ Kevin Khasigian
27                                                           KEVIN KHASIGIAN
                                                             Assistant United States Attorney
28
                                                         1
            Case 2:17-cr-00053-JAM Document 200 Filed 07/12/19 Page 2 of 2


 1
     Dated: July 12, 2019                          /s/ Dina L. Santos
 2                                                 DINA SANTOS, ESQ.
                                                   Attorney for ROBERT LAUTENSLAGER
 3

 4
                                            ORDER
 5
          IT IS SO FOUND AND ORDERED this 12th day of July, 2019
 6

 7
     Dated: July 12, 2019                          /s/ John A. Mendez
 8                                                 HONORABLE JOHN A. MENDEZ
                                                   United States District Court Judge
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